     Case 2:03-cr-00371-JAM-EFB Document 1105 Filed 10/16/18 Page 1 of 2


 1
 2

 3
 4
 5
 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                         No. 2:03-cr-0371-MCE-EFB P
12                       Respondent,
13           v.                                         ORDER
14    KENNETH D. RODGERS,
15                       Movant.
16
17          Kenneth Rodgers has filed a motion to vacate, set aside, or correct his sentence pursuant

18   to 28 U.S.C. § 2255. The matter was referred to a United States Magistrate Judge pursuant to 28

19   U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On June 18, 2018, the magistrate judge filed findings and recommendations herein which

21   were served on all parties and which contained notice to all parties that any objections to the

22   findings and recommendations were to be filed within fourteen days. After an extension of time,

23   movant has filed objections to the findings and recommendations.

24          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

28   ///
                                                       1
     Case 2:03-cr-00371-JAM-EFB Document 1105 Filed 10/16/18 Page 2 of 2


 1         Accordingly, IT IS HEREBY ORDERED that:
 2         1. The findings and recommendations filed June 18, 2018, (ECF No. 1089) are

 3   ADOPTED in full;
 4         2. Movant’s motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C.
 5   § 2255 (ECF No. 1078) is DENIED;
 6         3. The Clerk is directed to enter judgment accordingly; and
 7         4. The Clerk is directed to close the companion civil case, 2:16-cv-3068-MCE-EFB P.
 8         IT IS SO ORDERED.
 9   Dated: October 15, 2018
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                     2
